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                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                       Southern District of Florida

In re:                                                                   Case No.: 17-17071-RAM
                                                                         Chapter 13
Reina J Ortiz Barrientos

         Debtor(s).          ___________         /

             EMERGENCY MOTION TO REINSTATE CHAPTER 13 CASE
                               AND CERTIFICATE OF FUNDS
(Emergency basis: Debtor has a vehicle that may be subject to repossession since she was paying it in
                                             the plan.)

        COMES NOW the Debtor(s), Reina J Ortiz Barrientos, by and through undersigned counsel,
and files this Emergency Motion to Reinstate Chapter 13 Case and Certificate of Funds and as grounds
therefore states:

          1. This case was filed on June 5, 2017 and dismissed on July 19, 2022, for failure to become

               current with Chapter 13 Trustee's Notice of Delinquency in Confirmed Ch. 13 Plan

               Payments.

          2. Debtor has provided undersigned counsel with funds in the form of a personal money order

               that brings her current with his Chapter 13 plan as of the date of the instant motion.

          3.   Debtor wishes to continue with the Chapter 13 bankruptcy.

          WHEREFORE the undersigned respectfully requests that this Honorable Court enter an Order

Granting Debtors Motion to Reinstate Chapter 13 Case.

          I HEREBY I hereby certify that I am admitted to the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this Court set forth in Local Rule
2090-1(A).

Respectfully submitted on July 25, 2022.

                                                       Respectfully Submitted:
                                                       JOSE A. BLANCO, P.A.
                                                       By: /s/ Jose A. Blanco | FBN: 062449
                                                       Attorney for Debtor(s)
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